18-01433-smb          Doc 5       Filed 04/24/18        Entered 04/24/18 11:17:52                 Main Document
                                                       Pg 1 of 2


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Counsel to the SunEdison Litigation Trust

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             :
    In re:                                                   :            Chapter 11
                                                             :
    SUNEDISON, INC., et al.,                                 :            Case No. 16-10992 (SMB)
                                                             :
                          Reorganized Debtors.1              :            (Jointly Administered)
                                                             :
                                                             :
    SUNEDISON LITIGATION TRUST,                              :
                                                             :            Adv. Pro. No. 18-01433 (SMB)
                                        Plaintiff,           :
                                                             :
                          – against –                        :
                                                             :
    GENERAL ELECTRIC COMPANY,                                :
                                                             :
                                        Defendant.           :
                                                             :



1
     The Reorganized Debtors, along with the last four digits of each Reorganized Debtor’s tax identification number are:
     SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind Holdings, Inc. (2144); SUNE Hawaii Solar Holdings,
     LLC (0994); First Wind Solar Portfolio, LLC (5014); First Wind California Holdings, LLC (7697); SunEdison Holdings
     Corporation (8669); SunEdison Utility Holdings, Inc. (6443); SunEdison International, Inc. (4551); SUNE ML 1, LLC
     (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969); SunEdison Contracting, LLC (3819); NVT, LLC (5370); NVT
     Licenses, LLC (5445); Team-Solar, Inc. (7782); SunEdison Canada, LLC (6287); Enflex Corporation (5515); Fotowatio
     Renewable Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC (5886); SunEdison International, LLC (1567); Sun
     Edison LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373); SunEdison Residential Services, LLC (5787); PVT
     Solar, Inc. (3308); SEV Merger Sub Inc. (N/A); Sunflower Renewable Holdings 1, LLC (6273); Blue Sky West Capital,
     LLC (7962); First Wind Oakfield Portfolio, LLC (3711); First Wind Panhandle Holdings III, LLC (4238); DSP Renewables,
     LLC (5513); Hancock Renewables Holdings, LLC (N/A); EverStream HoldCo Fund I, LLC (9564); Buckthorn Renewables
     Holdings, LLC (7616); Greenmountain Wind Holdings, LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind
     Holdings, LLC (N/A); SunE Waiawa Holdings, LLC (9757); SunE Minnesota Holdings, LLC (8926); SunE MN
     Development Holdings, LLC (5388); and SunE MN Development, LLC (8669). The address of the Reorganized Debtors’
     corporate headquarters is Two CityPlace Drive, 2nd floor, St. Louis, MO 63141.




57533/0003-15764799v1
18-01433-smb       Doc 5    Filed 04/24/18    Entered 04/24/18 11:17:52       Main Document
                                             Pg 2 of 2


          STIPULATION AND ORDER EXTENDING TIME TO ANSWER, MOVE OR
                    OTHERWISE RESPOND TO COMPLAINT

        Plaintiff SunEdison Litigation Trust and Defendant General Electric Company

(“Defendant”), through their undersigned counsel, hereby stipulate that the time for Defendant to

answer, move or otherwise respond to the Complaint in the above-referenced adversary

proceeding is hereby extended through and including June 18, 2018.


DATED: April 20, 2018


 COLE SCHOTZ P.C.                               KING & SPALDING LLP

        /s/ Daniel F.X.Geoghan                  /s/ Kevin J. O’Brien
 David R. Hurst                                 Mark M. Maloney
 Daniel F.X. Geoghan                            Kevin J. O’Brien
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 Counsel for Plaintiff                          Counsel for Defendant



                           SO ORDERED this 24th day of April, 2018
                                 in New York, New York


                           __/s/ STUART M.BERNSTEIN__________
                           HONORABLE STUART M. BERNSTEIN
                           UNITED STATES BANKRUPTCY JUDGE




                                                2
57533/0003-15764799v1
